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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             NEW ALBANY DIVISION


JENNIFER CALDERON,                                   )
                                                     )
                                 Plaintiff,          )
                                                     )
                   v.                                )      4:06-cv-35-WGH-SEB
                                                     )
JOYCE MELHISER and                                   )
STATE AUTO,                                          )
                                                     )
                                 Defendants.         )



                   ENTRY ON DEFENDANT STATE AUTO’S
                    MOTION FOR SUMMARY JUDGMENT


                                     Introduction

      This matter is before the Honorable William G. Hussmann, Jr., United

States Magistrate Judge, on the Motion of Defendant, State Auto Insurance

Company, for Summary Judgment filed November 29, 2006. (Docket Nos. 34-

35).1 No response has been filed by the plaintiff, Jennifer Calderon.


                                      Background

      Plaintiff, Jennifer Calderon, is an Indiana citizen and resident2 who was

injured in an automobile accident in Clark County, Indiana, on April 7, 2004.




       The parties consented to Magistrate Judge jurisdiction in this case in their
       1

 Case Management Plan filed August 11, 2006. (Docket No. 20). District Judge Sarah
 Evans Barker entered an Order of Reference on August 22, 2006. (Docket No. 23).
       2
        Initially plaintiff asserted that she was a Kentucky resident. However, at her
 deposition it was revealed that she has not lived in Kentucky. (Deposition of Jennifer
 Calderon (“Calderon Dep.”) at 4-9).
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(Complaint ¶¶ 1, 7; Defendant’s Motion for Summary Judgment at 2). The vehicle

that plaintiff was operating was struck by a vehicle owned and operated by

defendant Joyce Melhiser, an Indiana resident. (Complaint ¶¶ 2, 7-8). Defendant

State Auto entered into an insurance contract with defendant Melhiser covering

the vehicle at issue in this case. (Complaint ¶ 9). Plaintiff filed her Complaint

alleging that defendant Melhiser was negligent in the operation of her vehicle.

Plaintiff also includes in her Complaint a second count that alleges that defendant

State Auto failed to act in good faith in settling the claim in violation of Kentucky

Revised Statute 304.12-230. (Complaint ¶ 16).3 Defendant State Auto filed the

pending motion for summary judgment arguing that the suit should be dismissed

for lack of subject matter jurisdiction and that Count II of plaintiff’s Complaint is

without merit because Kentucky law does not apply.

      The court concludes that, for the following reasons, defendant State Auto’s

Motion for Summary Judgment should be GRANTED.


                                   Legal Standard

      Summary judgment must be granted “if the pleadings, depositions, answers

to interrogatories, and admissions on file, together with the affidavits, if any, show

that there is no genuine issue of material fact and that the moving party is entitled



        3
         A typographical error occurred in the Complaint. Hence, after paragraph nine
 in the Complaint the numerical sequence begins again at paragraph six and concludes
 with paragraph 14. For clarity’s sake, the court will refer to the paragraphs according
 to their order in the Complaint. Misnumbered paragraph six will be referred to as
 paragraph ten since it is actually the tenth paragraph. This renumbering will
 continue throughout the Complaint and will conclude with misnumbered paragraph
 14 which will be referred to as paragraph 18 since it is the eighteenth paragraph.

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to a judgment as a matter of law.” FED.R.CIV.P. 56(c). The motion should be

granted so long as no rational fact finder could return a verdict in favor of the

nonmoving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

Thus, a court’s ruling on a motion for summary judgment is akin to that of a

directed verdict, as the question essentially for the court in both is “whether the

evidence presents a sufficient disagreement to require submission to a jury or

whether it is so one-sided that one party must prevail as a matter of law.” Id. at

251-52. When ruling on the motion, the court must construe the evidence in the

light most favorable to the nonmoving party and draw all reasonable inferences

therefrom in that party’s favor. Id. at 255. If the nonmoving party bears the

burden of proof on an issue at trial, that party “must set forth specific facts

showing that there is a genuine issue for trial.” FED.R.CIV.P. 56(e); see also Silk v.

City of Chicago, 194 F.3d 788, 798 (7th Cir. 1999). Lastly, the moving party need

not positively disprove the nonmovant’s case; rather, it may prevail by establishing

the lack of evidentiary support for that case. See Celotex Corp. v. Catrett, 477 U.S.

317, 325 (1986).


                                      Analysis

      This is a suit that was originally brought pursuant to the court’s diversity

jurisdiction. However, 28 U.S.C. § 1332 provides that this court has jurisdiction

only over civil actions where the amount in controversy exceeds $75,000 and

involves “citizens of different states.” In the landmark case of Strawbridge v.

Curtiss, the United States Supreme Court ruled that for a federal court to have



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jurisdiction under Section 1332 there must be complete diversity, meaning that

every plaintiff must be from a different state than every defendant. Strawbridge v.

Curtiss, 7 U. S. 267, 2 L.Ed. 435 (1806). In this case, plaintiff is a citizen of

Indiana (Calderon Dep. at 4-9) and defendant Melhiser is a citizen of Indiana.

(Complaint ¶¶ 2, 7-8). Thus, the court lacks subject matter jurisdiction. Rule

12(h)(3) of the Federal Rules of Civil Procedure indicates that “[w]henever it

appears by suggestion of the parties or otherwise that the court lacks jurisdiction

of the subject matter, the court shall dismiss the action.” FED.R.CIV.P. 12(h)(3).

Because the court lacks jurisdiction over the subject matter of this suit, it must be

DISMISSED.


                                     Conclusion

      For the reasons outlined above, defendant’s Motion for Summary Judgment

is GRANTED. Plaintiff’s claims are DISMISSED.

      SO ORDERED.


Dated: January 18, 2007                            _______________________________
                                                    WILLIAM G. HUSSMANN, JR.
                                                         Magistrate Judge



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